                Case 3:21-md-02981-JD Document 829-1 Filed 11/29/23 Page 1 of 2
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Case:   3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
        21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:               DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                   Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,       Michelle Chiu, Brian Rocca,
                                           Brent Byars, Andrew Wiktor          Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz
 JURY TRIAL HEARING DATE:                  REPORTER(S):                        CLERK:
 11/29/2023                                Kelly Shainline                     Lisa R. Clark

 PLF    DEF      TIME
 NO.    NO.      OFFERED ID REC DESCRIPTION                                                                  BY
                 9:05 am        Court in session; out of the presence of the jury.
                                Court in session; all parties and jury present. Cross-
                 9:21 am
                                examination of Catherine Tucker, PhD.
                 9:55 am        Re-direct of Catherine Tucker, PhD
                 10:01 am                    Defendants play video deposition of Armin Zerza
        1977                    X     X      Email from A. Zerza to T. Sweeney                               LRC
        1978                    X     X      Slide deck                                                      LRC
        1979                    X     X      Slide deck                                                      LRC
                                             Document titled, "Terms for Strategic Partnership"
        1980                    X     X                                                                      LRC
                                             (06/16/2021)
        10811                   X     X      6/29/2019 email from T. Sweeney to A. Zerza                     LRC
                 10:30 am                    Court in recess
                 10:49 am                    Cont’d video deposition of Armin Zerza
                 11:19 am                    Defendants play video depo of Mark Sottosanti
        11221                   X     X      Presentation dated 12/2018 titled "Mobile Distribution"         LRC
                                             Undated document titled "Self-Publishing Games-
        11222                   X     X                                                                      LRC
                                             Circumventing Google Play"
        11226                   X     X      Document dated 1/30/2019 titled "Nicolo: Jarred Agenda"         LRC
        11227                   X     X      Presentation dated 2/4/2020 titled "Google Velocity Deal"       LRC
        11229                   X     X      3/9/2020 email from S. O'Donnell to N. Laurent                  LRC
                 11:55 am                    Court in recess.
                                             Court in session; all parties present outside the presence of
                 12:43 pm
                                             the jury.
                 12:50 pm                    Cont’d video deposition of Mark Sottosanti.
                 1:30 pm                     Defendants call Richard Miner -- direct examination.
                                             Witness shown two Android phones.
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PLF    DEF    TIME
NO.    NO.    OFFERED ID REC DESCRIPTION                                                       BY
              1:52 pm        Cross-examination of Richard Miner
8054                     X   X     No description provided.
              2:03 pm              Re-direct of Richard Miner
              2:08 pm              Court in recess
              2:28 pm              Defendants play video depo of Erick Christensen
       1231              X   X     Email from E. Christensen to S. Buniac                      LRC
       1232              X   X     Document                                                    LRC
              3:14 pm              Jury excused for the day.
                                   Continued discussion with parties regarding proposed jury
                                   instructions.
              3:25 pm              Court in recess.
                                   Plaintiff has 415 minutes left.
                                   Defendants have 1146 minutes left.




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